
		
				MCBEE v. RHINO ROOFING2022 OK 23505 P.3d 931Case Number: 119337; Comp w/119181; 119190Decided: 03/07/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 23, 505 P.3d 931

				


VICKIE MCBEE, an individual, Plaintiff/Appellant,
v.
RHINO ROOFING, LLC d/b/a RHINO ROOFING AND CONSTRUCTION, an Oklahoma limited liability company; and JOHN DOES 1--5 true names unknown, Defendants/Appellees.





ORDER OF SUMMARY DISPOSITION


¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. Sup. Ct. Rule 1.201.

¶2 After reviewing the record in this case, THE COURT FINDS that our decision in McBee v. Shanahan Home Design, et al., 2021 OK 60499 P.3d 1Shanahan disposes of the issues herein.

¶3 IT IS THEREFORE ORDERED that the trial court's order sustaining defendant Rhino Roofing, L.L.C.'s motion to dismiss for untimely service of process is reversed and the cause is remanded for further proceedings.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 7th day of March, 2022.


/S/CHIEF JUSTICE



¶4 Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Gurich, Rowe, and Kuehn, JJ., concur.

¶5 Combs, J., not participating.



FOOTNOTES


McBee v. Shanahan Homes, et al. was whether the Court's joint emergency orders in response to the Covid-19 State of Disaster (SCAD Orders 2020-24, 2020-29, and 2020-36) suspended the 180-day time limit for effecting service of process set forth in 12 O.S. Supp. 2017, § 2004








